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                     ASSET PURCHASE AGREEMENT



                  MIDNIGHT MADNESS DISTILLING, LLC,
                              as Seller

                                  AND

                         ETOH WORLDWIDE LLC,
                               as Buyer
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                              ASSET PURCHASE AGREEMENT

     THIS ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of June 21,
2021, is entered into between MIDNIGHT MADNESS DISTILLING, LLC, a Pennsylvania
limited liability company (“Seller”), and ETOH WORLDWIDE, LLC, a U.S. Virgin Islands
limited liability company (“Buyer”).

                                            RECITALS
      WHEREAS, Seller is engaged in the business of distilling and producing spirits (the
“Business”);

        WHEREAS, the Seller intends to file a voluntary petition for bankruptcy to initiate a
case (the “Bankruptcy Case”) under Chapter 11 of the U.S. Bankruptcy Code (the
“Bankruptcy Code”) in the U.S. Bankruptcy Court for the Eastern District of Pennsylvania (the
“Bankruptcy Court”); and

        WHEREAS, subject to the terms and conditions of this Agreement and pursuant to either
the Plan of Reorganization, if any, which may become effective by order of the Bankruptcy
Court or pursuant to Sections 363 and 365 of the Bankruptcy Code and the applicable Federal
Rules of Bankruptcy Procedure, the Seller desires to sell to the Buyer, and the Buyer desires to
purchase from the Seller, the Purchased Assets, as defined in Section 1.01 hereof.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
hereinafter set forth and for other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the parties hereto agree as follows:

                                        ARTICLE I
                                    PURCHASE AND SALE

                                Purchase and Sale of Assets. Subject to the terms and conditions
        set forth herein, at the Closing, Seller shall sell, convey, assign, transfer, and deliver to
        Buyer, and Buyer shall purchase from Seller, all of Seller’s right, title, and interest in, to,
        and under all of the tangible and intangible assets, properties, and rights of every kind
        and nature and wherever located (other than the Excluded Assets), which relate to, or are
        used or held for use in connection with, the Business (collectively, the “Purchased
        Assets”), including the following:

               (a)     all cash and cash equivalents;

               (b)     all accounts receivable held by Seller (“Accounts Receivable”);

              (c)      all inventory, finished goods, raw materials, work in progress, packaging,
       supplies, parts, and other inventories (“Inventory”);

             (d)     all Contracts (the “Assigned Contracts”) that are either (i) set forth on
       Schedule 1.01 hereto or (ii) that Buyer elects to assume prior to Closing. The term
       “Contracts” means all contracts, purchase orders, equipment and real property leases,
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    licenses, instruments, notes, commitments, undertakings, indentures, joint ventures, and
    all other agreements, commitments, and legally binding arrangements, whether written or
    oral;

           (e)     all real estate of Seller (collectively, the “Real Property”), including,
    without limitation:

                (i)     the fee simple absolute interest in the property known as 118 N.
         Main Street, Trumbauersville Borough, Bucks County, Pennsylvania, known as tax
         parcel No. 45-003-006-001 (the “Fee Property”);

               (ii)    the leasehold interest in 2300 Trumbauersville Road, Quakertown,
         Pennsylvania under lease with Finland Leasing Co Inc dated January 1, 2016;

               (iii) the leasehold interest in 2600 Milford Square Pike, Quakertown,
         Pennsylvania under lease with Milford Business Centre dated January 26, 2021; and

               (iv)    the subleasehold interest in 4224 Old Bethlehem Pike, Telford,
         Pennsylvania under Sublease Agreement dated September 12, 2018, with Plantation
         Candies, Inc.

                   The leasehold and sub-leasehold interests referred to in subsections
           1.01(e)(ii), (iii), (iv), (v) and (vi) hereof are sometimes referred to herein
           collectively as the “Leasehold Properties” and the leases to which the same are
           subject are referred to herein as the “Assigned Leases.”

          (f)     all furniture, fixtures, equipment, machinery, tools, vehicles, office
    equipment, supplies, computers, telephones, and other tangible personal property (the
    “Tangible Personal Property”);

            (g)    all prepaid expenses, credits, advance payments, claims, security, refunds,
    rights of recovery, rights of set-off, rights of recoupment, deposits, charges, sums, and
    fees (including any such item relating to the payment of Taxes);

            (h)     all of Seller’s rights under warranties, indemnities, and all similar rights
    against third parties to the extent related to any Purchased Assets;

            (i)     all insurance benefits, including rights and proceeds, arising from or
    relating to the Business, the Purchased Assets, or the Assumed Liabilities and including,
    without limitation, the benefits accruing to Seller;

             (j)     originals or, where not available, copies, of all books and records,
    including books of account, ledgers, and general, financial, and accounting records,
    machinery and equipment maintenance files, customer lists, customer purchasing
    histories, price lists, distribution lists, supplier lists, production data, quality control
    records and procedures, customer complaints and inquiry files, research and development
    files, records, and data (including all correspondence with any federal, state, local, or
    foreign government or political subdivision thereof, or any agency or instrumentality of


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    such government or political subdivision, or any arbitrator, court, or tribunal of
    competent jurisdiction (collectively, “Governmental Authority”)), sales material and
    records, strategic plans and marketing, and promotional surveys, material, and research
    (“Books and Records”);

           (k)     any claims or causes of action the Seller or its bankruptcy estate have, had,
    or may have against Buyer or any of its affiliates, or any holder of an Assumed Liability,
    including, without limitation, any claims or causes of action pursuant to Sections 544,
    547, 548, 549, or 550 of the Bankruptcy Code; and

           (l)     all goodwill and the going concern value of the Purchased Assets and the
    Business.

                           Excluded Assets. Notwithstanding the foregoing, the Purchased
     Assets shall not include the assets, properties, and rights specifically set forth on
     Schedule 1.02 of the Disclosure Schedules attached hereto and made a part hereof (the
     “Disclosure Schedules”) (collectively, the “Excluded Assets”).

                            Assumed Liabilities. Buyer shall not assume or be responsible for
     any Liabilities of the Seller, except that Buyer shall only assume the following
     Liabilities (the “Assumed Liabilities”):

           (a)   Buyer shall assume and perform the obligations of Seller under the
    Assigned Contracts other than the Liabilities set forth in Section 1.04(c) hereof;

            (b)     Buyer shall assume and perform those obligations of Seller under the
    Assigned Contracts with Seller’s customers that accrue or arise on or after the date on
    which the Seller filed a voluntary petition under the Bankruptcy Code, to the extent such
    obligations relate to invoices paid by customers after the Closing; and

            (c)     Buyer shall assume and perform those obligations of Seller listed on
    Schedule 1.03 of the Disclosure Schedules (include, without limitation, the trade credit
    obligations (other than the Cure Amounts, as hereinafter defined) as of June 13, 2021 as
    set forth in such Schedule 1.03) and identified as Assumed Liabilities.

                           Definition of Liabilities; Excluded Liabilities.

            (a)     For purposes of this Agreement, “Liabilities” means liabilities,
    obligations, or commitments of any nature whatsoever, whether asserted or unasserted,
    known or unknown, absolute or contingent, accrued or unaccrued, matured or unmatured,
    or otherwise.

            (b)     Notwithstanding any provision in this Agreement to the contrary, Buyer
    shall not assume and shall not be responsible to pay, perform, or discharge any Liabilities
    of Seller or any of its Affiliates of any kind or nature whatsoever other than the Assumed
    Liabilities. Liabilities not included in Assumed Liabilities being referred to herein as the
    “Excluded Liabilities.” For purposes of this Agreement: (i) “Affiliate” of a Person
    means any other Person that directly or indirectly, through one or more intermediaries,


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    controls, is controlled by, or is under common control with, such Person; and (ii) the term
    “control” (including the terms “controlled by” and “under common control with”) means
    the possession, directly or indirectly, of the power to direct or cause the direction of the
    management and policies of a Person, whether through the ownership of voting
    securities, by contract, or otherwise.

            (c)    Without limiting the foregoing, Excluded Liabilities include, and the
    Buyer expressly is not assuming any of the following Liabilities, whether accrued or
    fixed, absolute or contingent, known or unknown, determined or determinable, and
    whenever arising:

                   (i)     any Liabilities of the Seller for federal, state, local or foreign taxes
           (including, without limitation, franchise, income, single business, sales, use, us
           and occupancy, payroll, occupation, property, excise, withholding, and other
           taxes), except for excise taxes payable as of the date hereof up to the amount of
           $198,751 and sales taxes currently payable up to the amount of $44,084;

                   (ii)    any claims (as defined in Section 101(5) of the Bankruptcy Code),
           demands, Liabilities or obligations of any nature whatsoever (including, without
           limitation, claims, demands, liabilities or obligations in respect of advances or
           loans, goods sold, environmental matters, employee-related claims, occupational
           safety, workers’ or workmen’s compensation, grievance proceedings or actual or
           threatened litigation, suits, claims, demands or governmental proceedings) which
           arose or were incurred on or before the Closing Date, or which are based on
           events occurring or conditions existing on or before the Closing Date, or which
           are based on products sold or services performed by the Seller on or before the
           Closing Date;

                  (iii) any Liabilities of the Seller under this Agreement, the Deed, Bill of
           Sale, Assignment and Assumption Agreement, Assignment of Leases, Master
           Subcontract Agreement (or any subcontract thereunder), Leaseback Lease,
           Leaseback Subleases or any other document issued in connection with this
           Agreement or otherwise in connection with the transactions contemplated by this
           Agreement;

                   (iv)    Except as expressly set forth in Article V hereof, any Liabilities of
           the Seller to present or former employees (or their beneficiaries), consultants or
           agents for continued employment or for any compensation, pension contribution
           or other benefits accrued or otherwise payable (including, without limitation, any
           WARN Act liabilities, if any); or

                  (v)   Liabilities to or of present or former members, managers, officers
           or board members of Seller.

                          Purchase Price. The aggregate purchase price for the Purchased
     Assets shall be One Million Twenty-five Thousand Dollars ($1,025,000), plus the




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     assumption of the Assumed Liabilities (the “Purchase Price”). Buyer shall pay the
     Purchase Price as follows:

            (a)      Within three (3) business days following execution of this Agreement the
    Buyer shall deliver the sum of Fifty Thousand Dollars ($50,000.00) in the form of readily
    available funds (the “Bid Deposit”) for deposit with the Title Company (“Escrow
    Agent”). The Bid Deposit will be fully refunded to the Buyer within five (5) business
    days following (i) the Auction, as hereinafter defined, if the Buyer is not the successful
    bidder, or (ii) the termination of this Agreement pursuant to Article X hereof other than
    Section 10.1(c)(ii) hereof;

            (b)    Within five (5) business days after the date the Auction is final, if the
    Buyer is the successful bidder at the Auction, as hereinafter defined, the Buyer shall
    deliver a sum equal to five percent (5%) of the Purchase Price less the amount of the Bid
    Deposit in the form of readily available funds (the “Purchase Price Deposit”; the
    Purchase Price Deposit and the Bid Deposit being referred to herein collectively as the
    “Deposit”) to Escrow Agreement to secure the Buyer’s obligations under this Agreement.
    The Purchase Price Deposit shall be fully refunded to the Buyer within five (5) business
    days of the termination of this Agreement pursuant to Section 10.1(c)(ii); and

           (c)     At Closing, the Buyer shall pay the balance of the Purchase Price.

                           Allocation of Purchase Price. The Purchase Price and the
     Assumed Liabilities shall be allocated among the Purchased Assets for all purposes
     (including Tax and financial accounting) as shown on the allocation schedule set forth
     on Schedule 1.06 of the Disclosure Schedules (the “Allocation Schedule”). The
     Allocation Schedule shall be prepared in accordance with Section 1060 of the Internal
     Revenue Code of 1986, as amended. Buyer and Seller shall file all returns, declarations,
     reports, information returns and statements, and other documents relating to Taxes
     (including amended returns and claims for refund) (“Tax Returns”) in a manner
     consistent with the Allocation Schedule.

                          Withholding Tax. Buyer shall be entitled to deduct and withhold
     from the Purchase Price all Taxes that Buyer may be required to deduct and withhold
     under any provision of Tax Law. All such withheld amounts shall be treated as delivered
     to Seller hereunder.

                            Third Party Consents. To the extent that Seller’s rights under any
     Purchased Asset may not be assigned to Buyer without the consent of another Person
     which has not been obtained, this Agreement shall not constitute an agreement to assign
     the same if an attempted assignment would constitute a breach thereof or be unlawful,
     and Seller, at its expense, shall use its reasonable best efforts to obtain any such required
     consent(s) as promptly as possible. If any such consent shall not be obtained or if any
     attempted assignment would be ineffective or would impair Buyer’s rights under the
     Purchased Asset in question so that Buyer would not in effect acquire the benefit of all
     such rights, and if Buyer shall nevertheless in its sole discretion agree to complete
     Closing without such consent, Seller, to the maximum extent permitted by Law and the


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     Purchased Asset, shall act after the Closing as Buyer’s agent in order to obtain for Buyer
     the benefits thereunder and shall cooperate, to the maximum extent permitted by Law
     and the Purchased Asset, with Buyer in any other reasonable arrangement designed to
     provide such benefits to Buyer. Nothing contained in this Section 1.08 or elsewhere in
     this Agreement shall constitute an agreement by Buyer to waive its right to insist on
     Seller’s obtaining all required consents prior to Closing.

                                      ARTICLE II
                                       CLOSING

                            Closing. Subject to the terms and conditions of this Agreement, the
     consummation of the transactions contemplated by this Agreement (the “Closing”) shall
     take place at the offices of Buyer’s attorneys, Hangley Aronchick Segal Pudlin &
     Schiller, One Logan Square, 27th Floor, Philadelphia, PA at 10:00 a.m. on August 12,
     2021, or at such other time or place or in such other manner as Seller and Buyer may
     mutually agree upon in writing. The date on which the Closing is to occur is herein
     referred to as the “Closing Date.”

                          Closing Deliverables.

           (a)     At the Closing, Seller shall deliver to Buyer the following:

                (i)     a bill of sale in form and substance satisfactory to Buyer (the “Bill of
         Sale”) and duly executed by Seller, transferring the Tangible Personal Property
         included in the Purchased Assets to Buyer;

                 (ii)    an assignment and assumption agreement in form and substance
         satisfactory to Buyer (the “Assignment and Assumption Agreement”) and duly
         executed by Seller, effecting the assignment to and assumption by Buyer of the
         Purchased Assets and the Assumed Liabilities other than the Tangible Personal
         Property, the Fee Properties or the Leased Properties;

                (iii) the deed in form and substance satisfactory to Buyer for the Fee
         Property (the “Deed”);

                 (iv)    An assignment and assumptions of leases in form and substance
         satisfactory to Buyer for the Leased Properties (the “Assignment and Assumption
         of Leases”);

                (v)    If the Liquor Licenses, as defined in Article V hereof, shall not have
         been received by the Closing Date, the following:

                          (A)    A lease in form and substance satisfactory to Buyer (the
                   “Leaseback Lease”) pursuant to which Seller leases the Fee Property
                   from Buyer until the date (the “Transition Date”) which is five (5)
                   Business Days after Buyer received the Liquor Licenses, as hereinafter
                   defined;


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                          (B)    Three separate subleases in form and substance satisfactory
                   to Buyer (each, individually, a “Leaseback Sublease” and collectively,
                   the “Leaseback Subleases”) pursuant to which Seller subleases the
                   Leasehold Properties from Buyer until the Transition Date; and

                          (C)    the Master Subcontract Agreement required by Article V in
                   form and substance satisfactory to Buyer (the “Master Subcontract
                   Agreement”), together with any then-existing subcontracts thereunder,
                   duly executed by Seller.

                (vi)    a certificate of the Secretary (or equivalent officer) of Seller
        certifying as to (A) the resolutions of the Board of Managers of Seller, which
        authorize the execution, delivery, and performance of this Agreement, the Bill of
        Sale, the Deed, the Assignment and Assumption Agreement, Assignment and
        Assumption of Leases, the Master Subcontract Agreement, the Leaseback Lease,
        the Leaseback Subleases, and the other agreements, instruments, and documents
        required to be delivered in connection with this Agreement or at or after the Closing
        (collectively, the “Transaction Documents”) and the consummation of the
        transactions contemplated hereby and thereby, and (B) the names and signatures of
        the officers of Seller authorized to sign this Agreement and the other Transaction
        Documents;

               (vii) such other customary instruments of transfer or assumption, filings,
        or documents, in form and substance reasonably satisfactory to Buyer, as may be
        required to give effect to the transactions contemplated by this Agreement;

                 (viii) all affidavits, indemnities, proof of authority, due authorization, and
        other deliveries requested by the Title Company, as hereinafter defined, to insure
        title as required by this Agreement;

               (ix)    one or more closing statements evidencing the transfer and use of
        funds applicable to Closing;

                (x)    the Bid Procedures Order and the Sale Order, in the form required by
        Article VIII hereof and acceptable to the Title Company, as hereinafter defined; and

              (xi)    such other documents and deliveries as are reasonably necessary to
        complete Closing.

          (b)      At the Closing, Buyer shall deliver to Seller the following:

               (i)    the Purchase Price (less any amounts which may be withheld for
        outstanding Tax Liabilities);

                 (ii)    the Assignment and Assumption Agreement duly executed by
        Buyer;

                 (iii)   the Assignment and Assumption of Leases duly executed by Buyer;


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                     (iv)   If the Liquor Licenses, as hereinafter defined, shall not have been
             received by the Closing Date, the Leaseback Lease, the Master Subcontract
             Agreement, together with any subcontracts thereunder as set forth in Article V
             hereof, duly executed by Buyer;

                    (v)     one or more closing statements evidencing the transfer and use of
             funds applicable to Closing; and

                   (vi)    such other documents and deliveries as are reasonably necessary to
             complete Closing.

                              Assigned Contracts. The Sale Motion (as defined herein) shall
        request approval of the assumption and assignment by the Seller to the Buyer of all
        Assigned Contracts and shall identify all amounts that the Seller believes are necessary
        to cure any pre-Closing defaults by the Seller on all Assigned Contracts (the “Cure
        Amounts”), which shall be paid by Seller at Closing.

                               Prorations.

               (a)     Except to the extent included in Assumed Liabilities, all real property
       taxes, personal property taxes, assessments, ad valorem taxes, rent, prepaid rent, prepaid
       expenses, and other customarily pro ratable items relating to the Purchased Assets
       relating to a period of time both prior to and subsequent to the Closing Date, will be
       prorated as of the Closing Date between Buyer and Seller, as applicable, in the customary
       manner of asset sales in Bucks County, Pennsylvania, and will be deducted from or added
       to the amount to be paid by the Buyer at Closing.

              (b)     Each of Buyer and Seller shall pay one-half of all realty transfer taxes due
       by reason of the transfers contemplated by this Agreement. Any and all other transfer
       and sales taxes and fees, if any, payable with respect to the transfer of the Purchased
       Assets shall be paid by the party required by law to pay such taxes and fees.

                              Closing Expenses. Except as otherwise specifically provided
        herein, each of Buyer and Seller shall pay the costs of their respective attorneys for the
        transactions contemplated by this Agreement. Buyer shall pay the costs for recording of
        the release of the mortgage in favor of PNC Bank, N.A. from the Fee Property the
        assumption of the mortgage in favor of Francis E. Stubbs and Maria Del Carmen Nuno.
        Buyer shall pay the recording costs for the recording of the deed, the title insurance
        premium costs for any title insurance policy obtained by Buyer and for all endorsements
        thereto. Any other closing costs shall be allocated in accordance with local custom.

                                 ARTICLE III
                  REPRESENTATIONS AND WARRANTIES OF SELLER

        Seller represents and warrants to Buyer that the statements contained in this Article III
are true and correct as of the date hereof. Except as expressly set forth herein, Seller is selling
the Purchased Assets AS IS, WHERE IS:


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                           Organization and Authority of Seller. Seller is a limited liability
     company duly organized, validly existing, and in good standing under the Laws of the
     Commonwealth of Pennsylvania. Seller has full power and authority to enter into this
     Agreement and the other Transaction Documents to which Seller is a party, to carry out
     its obligations hereunder and thereunder, and to consummate the transactions
     contemplated hereby and thereby. The execution and delivery by Seller of this
     Agreement and any other Transaction Document to which Seller is a party, the
     performance by Seller of its obligations hereunder and thereunder, and the
     consummation by Seller of the transactions contemplated hereby and thereby have been
     duly authorized by all requisite corporate, board, and member action on the part of
     Seller. This Agreement and the Transaction Documents constitute legal, valid, and
     binding obligations of Seller enforceable against Seller in accordance with their
     respective terms.

                             No Conflicts or Consents. The execution, delivery, and
     performance by Seller of this Agreement and the other Transaction Documents to which
     it is a party, and the consummation of the transactions contemplated hereby and thereby,
     do not and will not: (a) violate or conflict with any provision of the certificate of
     organization, operating agreement or other governing documents of Seller; (b) violate or
     conflict with any provision of any statute, law, ordinance, regulation, rule, code,
     constitution, treaty, common law, other requirement, or rule of law of any Governmental
     Authority (collectively, “Law”) or any order, writ, judgment, injunction, decree,
     stipulation, determination, penalty, or award entered by or with any Governmental
     Authority (“Governmental Order”) applicable to Seller, the Business, or the Purchased
     Assets; (c) except for the Bankruptcy Court approvals referenced in Article VIII hereof,
     require the consent, notice, declaration, or filing with or other action by any individual,
     corporation, partnership, joint venture, limited liability company, Governmental
     Authority, unincorporated organization, trust, association, or other entity (“Person”) or
     require any permit, license, or Governmental Order; (d) violate or conflict with or result
     in the acceleration of, or create in any party the right to accelerate, terminate, modify, or
     cancel any Contract to which Seller is a party or by which Seller or the Business is
     bound or to which any of the Purchased Assets are subject (including any Assigned
     Contract); or (e) result in the creation or imposition of any charge, claim, pledge,
     equitable interest, lien, security interest, restriction of any kind, or other encumbrance
     (“Encumbrance”) on the Purchased Assets.

                            Financial Statements. If requested by the Buyer in writing,
     complete copies of the financial statements consisting of the balance sheet of the
     Business as at December 31, 2020 and the related statements of income and retained
     earnings, shareholders’ equity, and cash flow for the years then ended 2020 (the
     “Financial Statements”) shall be delivered to Buyer. Such Financial Statements shall
     fairly present in all material respects the financial condition of the Business as of the
     respective dates they were prepared and the results of the operations of the Business for
     the periods indicated. The balance sheet of the Business as of December 31, 2020 is
     referred to herein as the “Balance Sheet” and the date thereof as the “Balance Sheet
     Date.”



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                               Undisclosed Liabilities. Seller has no Liabilities with respect to
        the Business, except (a) those which are adequately reflected or reserved against in the
        Balance Sheet as of the Balance Sheet Date or set forth on Schedule 3.04 of the
        Disclosure Schedules or in schedules filed with the Bankruptcy Court in the Case, and
        (b) those which have been incurred in the ordinary course of business consistent with
        past practice since the Balance Sheet Date and which are not, individually or in the
        aggregate, material in amount.

                               Assigned Contracts. To the Seller’s knowledge, each Assigned
        Contract is valid and binding on Seller in accordance with its terms and is in full force
        and effect. Neither Seller nor, to Seller’s knowledge, any other party thereto is in breach
        of or default under (or is alleged to be in breach of or default under) in any material
        respect, or has provided or received any notice of any intention to terminate, any
        Assigned Contract. Except as disclosed on Schedule 3.05 of the Disclosure Schedules or
        in schedules filed with the Bankruptcy Court in the Bankruptcy Case, no event or
        circumstance has occurred that would constitute an event of default under any Assigned
        Contract or result in a termination thereof. Complete and correct copies of each
        Assigned Contract (including all modifications, amendments, and supplements thereto
        and waivers thereunder) have been made available to Buyer. There are no material
        disputes pending or threatened under any Assigned Contract.

                               Title to Purchased Assets. Except as set forth in Schedule 3.06 of
        the Disclosure Schedules (the “Permitted Exceptions”) and except such liens as shall
        be released from the Purchased Assets in accordance with the Sale Order, Seller has
        good and valid title to all of the Purchased Assets, free and clear of Encumbrances.

                              Legal Proceedings; Governmental Orders.

                (a)     Except as set forth in Schedule 3.07 of the Disclosure Schedules or in
       filings in the Bankruptcy Case, there are no claims, actions, causes of action, demands,
       lawsuits, arbitrations, inquiries, audits, notices of violation, proceedings, litigation,
       citations, summons, subpoenas, or investigations of any nature, whether at law or in
       equity (collectively, “Actions”) pending or, to Seller’s knowledge, threatened against or
       by Seller: (i) relating to or affecting the Business, the Purchased Assets, or the Assumed
       Liabilities; or (ii) that challenge or seek to prevent, enjoin, or otherwise delay the
       transactions contemplated by this Agreement. No event has occurred or circumstances
       exist that may give rise to, or serve as a basis for, any such Action.

              (b)    Except as may have been issued in the Bankruptcy Case, there are no
       outstanding Governmental Orders against, relating to, or affecting the Business or the
       Purchased Assets.

                                ARTICLE IV
                  REPRESENTATIONS AND WARRANTIES OF BUYER

        Buyer represents and warrants to Seller that the statements contained in this Article are
true and correct as of the date hereof.


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                            Organization and Authority of Buyer. Buyer is a limited liability
     company, duly organized, validly existing, and in good standing under the Laws of the
     U.S. Virgin Islands. Buyer has full power and authority to enter into this Agreement and
     the other Transaction Documents to which Buyer is a party, to carry out its obligations
     hereunder and thereunder, and to consummate the transactions contemplated hereby and
     thereby. The execution and delivery by Buyer of this Agreement and any other
     Transaction Document to which Buyer is a party, the performance by Buyer of its
     obligations hereunder and thereunder, and the consummation by Buyer of the
     transactions contemplated hereby and thereby have been duly authorized by all requisite
     corporate action on the part of Buyer. This Agreement and the Transaction Documents
     constitute legal, valid, and binding obligations of Buyer enforceable against Buyer in
     accordance with their respective terms.

                             No Conflicts; Consents. The execution, delivery, and performance
     by Buyer of this Agreement and the other Transaction Documents to which it is a party,
     and the consummation of the transactions contemplated hereby and thereby, do not and
     will not: (a) violate or conflict with any provision of the certificate of organization,
     operating agreement, or other organizational documents of Buyer; (b) violate or conflict
     with any provision of any Law or Governmental Order applicable to Buyer; or (c)
     require the consent, notice, declaration, or filing with or other action by any Person or
     require any permit, license, or Governmental Order.

                           Legal Proceedings. There are no Actions pending or, to Buyer’s
     knowledge, threatened against or by Buyer that challenge or seek to prevent, enjoin, or
     otherwise delay the transactions contemplated by this Agreement. No event has occurred
     or circumstances exist that may give rise to, or serve as a basis for, any such Action.

                         Financial Wherewithal. Buyer has the financial wherewithal to
     consummate the transactions contemplated by this Agreement.

                                       ARTICLE V
                                      COVENANTS

                            Receivables. From and after the Closing, if Seller or any of its
     Affiliates receives or collects any funds relating to any Accounts Receivable or any
     other Purchased Asset, Seller or its Affiliate shall remit such funds to Buyer within five
     (5) business days after its receipt thereof. From and after the Closing, if Buyer or its
     Affiliate receives or collects any funds relating to any Excluded Asset, Buyer or its
     Affiliate shall remit any such funds to Seller within five (5) business days after its
     receipt thereof.

                            Further Assurances. Following the Closing, each of the parties
     hereto shall, and shall cause their respective Affiliates to, execute and deliver such
     additional documents, instruments, conveyances, and assurances and take such further
     actions as may be reasonably required to carry out the provisions hereof and give effect
     to the transactions contemplated by this Agreement and the other Transaction
     Documents.


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                             Bulk Sales. At or about the time of Closing, the Purchased Assets
     may constitute 51% or more of Seller’s remaining real property or 51% or more of
     Seller’s property in the Commonwealth of Pennsylvania thereby requiring the Seller to
     comply with one or more of Pennsylvania’s “bulk sales clearance” statutes (43 P.S. §
     788.3; 69 P.S. § 529, 72 P.S. § 7240; 72 P.S. § 7321.1 and/or any similar law) (the
     “Bulk Sales Laws”). To the extent the sale of the Purchased Assets, or any portion
     thereof, requires Seller to obtain a clearance certificate in order to prevent Buyer from
     being liable for any taxes imposed upon Seller, Seller shall (a) at least 30 days prior to
     Closing, provide Buyer with a letter from an independent certified public accountant
     addressed to Buyer which includes an estimate of Seller’s tax liability under the Bulk
     Sales Laws through the Closing Date, including taxes incurred with respect to or as a
     result of the sale of the Property (such estimated tax liability being hereinafter referred
     to as the “Estimated Tax Liability”), (b) file all forms and make all submissions
     required by the Bulk Sales Laws in a timely manner and (c) at Closing, a portion of the
     Purchase Price equal to 150% of the Estimated Tax Liability shall be placed in escrow
     pending Seller’s obtaining of the required clearance certificates from the Pennsylvania
     Department of Revenue as necessary to release Buyer from any liability with respect to
     the Bulk Sales Laws in connection with Buyer’s acquisition of the Purchased Assets (the
     “Clearance Certificates”). Seller shall indemnify, defend and hold Buyer harmless of
     and from any liability (including, but not limited to, court costs and attorney’s fees)
     which might be imposed on Buyer or its successors or assigns by reason of Seller’s
     failure to pay any tax imposed on Seller. This Section 5.03 shall survive Closing.

                           Liquor Licenses; Transition Date; Post-Closing Contracts.

            (a)     Buyer has applied for certain liquor licenses that will, in Buyer’s
    judgment, allow it to use the Purchased Assets to operate a business requiring a liquor
    licenses (such liquor licenses, collectively, the “Liquor Licenses”).

            (b)    After the date hereof, Buyer shall have the right to enter into contracts to
    becoming effective after closing (the “Post-Closing Contracts”) that will allow Buyer to
    obtain supplies and equipment and provide products and services using the Purchased
    Assets.

            (c)     Prior to the date Buyer is able to obtain the Liquor Licenses (the
    “Transition Date”), Buyer desires to lease the Fee Property and sublease the Leasehold
    Properties to Seller so that Seller can operate as Buyer’s subcontractor in the Fee
    Property and the Leasehold Properties. In connection with such operation, Buyer and
    Seller shall enter into the Master Subcontract Agreement and may enter into certain
    subcontracts (the “Subcontracts”) that will allow Seller to act as a subcontractor under
    the Assigned Contracts and the Post-Closing Contracts prior to the Transition Date.

            (d)     Following the Transition Date, Buyer intends to hire all or a substantial
    portion of the Seller’s existing employees to operate Buyer’s business. Prior to the
    Transition Date, the employees engaged in the operation of the Purchased Property shall
    be the employees of Seller, to be compensated by Seller from the Fee (as such term is
    defined in the Master Subcontractor Agreement). From and after the Transition Date,


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       Buyer shall honor all existing personal time off for the employees that it hires, as well as
       vacation time, sick days and similar time off benefits, but Buyer shall have no obligation
       to pay any other benefits to such employees, which shall be provided for by Seller.

               (e)    This Section 5.04 shall survive Closing.

                               Continued Performance; Payment of Trade Payables.
        Between the date of this Agreement and Closing, Seller has and shall continue to operate
        the Business, collect accounts receivable and pay accounts payable in the ordinary
        course of business.

                                   ARTICLE VI
                       CONDITIONS TO BUYER’S OBLIGATIONS.

        The obligation of Buyer to purchase the Purchased Assets from Seller and to consummate
the other transactions contemplated hereby is subject to the satisfaction, on or before the Closing
Date, of the following conditions, each of which may be waived by the Buyer in its sole
discretion:

                               Consents. All requisite governmental approvals and consents of
        third parties identified on Schedule 6.01 and the Bankruptcy Court Approvals
        referenced in Section 8.02 below shall have been obtained. Further, if any consents are
        required for the assignments of any Contracts, leases, loans or other Purchased Assets or
        Assumed Obligations, all such consents shall have been obtained.

                               Representations and Warranties Accurate. All of the
        representations and warranties of the Seller contained in this Agreement or referred to
        herein or delivered pursuant hereto or in connection with the transactions contemplated
        hereby shall be true, correct and complete in all material respects on and as of the
        Effective Date and on and as of the Closing Date, as if made on and as of the Closing
        Date. On the Closing Date, the Seller shall have executed and delivered to the Buyer a
        certificate, in form and substance satisfactory to the Buyer and its counsel, to such
        effect.

                               Performance. The Seller shall have performed and complied in
        all material respects with all covenants and agreements contained herein required to be
        performed or complied with by it prior to or at the Closing Date.

                               No Actions, Suits or Proceedings. As of the Closing Date, no
        order, decree or judgment of any court or governmental body shall have been issued
        restraining, prohibiting, restricting or delaying, the consummation of the transactions
        contemplated by this Agreement.

                               Closing Deliveries. The Seller shall have delivered all of the
        deliveries required by Section 2.02(a) hereof.




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                           Bankruptcy Court Approval. The Bankruptcy Court shall have
     issued orders pursuant to the provisions of Article VIII hereof.

                             Title Insurance. The title company selected by Buyer and
     licensed to do business in Pennsylvania (the “Title Company”) shall be prepared to
     insure title to the Fee Property free and clear of all Liens and Interests and
     Encumbrances except for the Assumed Liabilities and the Permitted Exceptions.

                               ARTICLE VII
                   CONDITIONS TO SELLER’S OBLIGATIONS

            The obligation of Seller to transfer the Purchased Assets to the Buyer and to
    consummate the other transactions contemplated hereby is subject to the satisfaction, on
    or before the Closing Date, of the following conditions, each of which may be waived by
    the Seller in its sole discretion:

                            Representations and Warranties to be True and Correct. All
     of the representations and warranties of Buyer contained in this Agreement attached
     hereto or referred to herein or delivered pursuant hereto or in connection with the
     transactions contemplated hereby shall be true, correct and complete in all material
     respects on and as of the Effective Date and on and as of the Closing Date, as if made on
     and as of the Closing Date.

                           Performance. Buyer shall have performed and complied in all
     material respects with all covenants and agreements contained herein required to be
     performed or complied with by it prior to or at the Closing Date.

                            No Actions, Suits or Proceedings. No order, decree or judgment
     of any court or governmental body shall have been issued restraining, prohibiting,
     restricting or delaying, the consummation of the transactions contemplated by this
     Agreement. No insolvency proceeding of any character including without limitation,
     bankruptcy, receivership, reorganization, dissolution or arrangement with creditors,
     voluntary or involuntary, affecting Buyer shall be pending, and Buyer shall not have
     taken any action in contemplation of, or which would constitute the basis for, the
     institution of any such proceedings.

                            Closing Deliveries. Buyer shall have delivered the Purchase Price
     and all of the other deliveries required by Section 2.02(b) hereof.

                          Bankruptcy Court Approval. The Bankruptcy Court shall have
     issued orders pursuant to the provisions of Article VIII.

                               ARTICLE VIII
                       BANKRUPTCY COURT APPROVALS

                           Bankruptcy Bidding Procedures. Within three (3) business days
     after execution hereof, the Seller will file a motion with the Bankruptcy Court (the “Bid


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     Procedures Motion”) seeking entry of an order (the “Bid Procedures Order”) by the
     Bankruptcy Court that would (i) provide that the hearing to consider entry of the Bid
     Procedures Order will be held on or before July 14, 2021, (ii) approve the
     reimbursement of actual and necessary expenses, including reasonable attorney’s fees,
     incurred by Buyer in connection with the negotiation and entry into this Agreement, due
     diligence with respect to the transactions contemplated herein, and obtaining Bankruptcy
     Court approval of this Agreement, in an amount not to exceed $100,000 (the “Expense
     Reimbursement”) payable to the Buyer, each of which shall constitute an
     administrative expense against Seller’s bankruptcy estate under the applicable version of
     the Bankruptcy Code, and each of which shall be paid if and immediately when the
     Seller sells, transfers, assigns, encumbers, leases, or licenses all or a material portion of
     the Purchased Assets to any other person (whether through sale of assets, sale of stock,
     merger, consolidation, business combination, lease, license, affiliation, joint venture,
     investment in the Seller or any other transaction), or the Seller files a plan or
     reorganization that does not contemplate the transactions contemplated by this
     Agreement (collectively, the “Proposed Transaction”) or any such plan (filed by any
     person or entity) is confirmed; provided, however that such Expense Reimbursement
     shall not apply if the transaction effected by the Seller follows a material breach by the
     Buyer of any of its material representations, warranties or covenants set forth herein,
     (iii) approve overbid protection such that any competing bidders must submit a bid of
     not less than the sum of the Purchase Price and $150,000 (which shall include the
     Expense Reimbursement) payable in cash at Closing (whether through asset purchase,
     stock purchase, merger, consolidation, business combination, license or any investment
     in the Seller), (iv) otherwise providing for bidding procedures for the Purchased Assets
     that are mutually acceptable to the Buyer and the Seller, including, without limitation,
     provisions relating to the qualification requirements for competing bidders, the right of
     the Buyer to match any overbid, requiring that any subsequent bids be not less than
     $50,000 in excess of the then highest bids, and allowing Buyer to credit bid $100,000 on
     account of the Expense Reimbursement, and (v) approves the content and service of the
     Notice issued by the Seller pursuant to Federal Rule of Bankruptcy Procedure 6004 (the
     “Sale Notice”).

                            Bankruptcy Court Approvals. The Seller shall file a motion
     with the Bankruptcy Court (the “Sale Motion”) seeking the entry by August 5, 2021 of
     an order satisfactory to the Buyer in its reasonable discretion approving the sale
     contemplated by this Agreement (the “Sale Order”) which sale shall be free and clear of
     all Liens and Interests, as hereinafter defined. Without limiting the generality of the
     foregoing, the motion shall seek the entry of a Final Order finding and providing that (i)
     title to the Purchased Assets shall be transferred to the Buyer free and clear of all liens,
     mortgages, security interests, encumbrances, rights, liabilities, claims, counterclaims,
     setoffs, and all other interests, other than the Assumed Liabilities, whether arising
     before or after the date the first petition in the Bankruptcy Case was filed (collectively,
     “Liens and Interests”), and that any such Liens and Interests shall attach only to the
     proceeds paid in connection with the transactions contemplated in this Agreement; (ii)
     every person holding any Liens and Interests against the Seller or in the Purchased
     Assets are enjoined from enforcing such Liens and Interests against the Buyer; (iii) the
     Buyer is purchasing the Purchased Assets in “good faith” within the meaning of Section


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     363(m) of the Bankruptcy Code and, as such, is entitled to the protections offered
     thereby; (iv) the Agreement was negotiated, proposed, and entered into by the parties
     without collusion, in good faith, and after arms length bargaining; (v) the sale of the
     Purchased Assets is in the best interests of the Seller, its creditors, and its estate; (vi) the
     stay provided under the Federal Rules of Bankruptcy Procedure 6004(g) and 6006(d)
     shall be waived to the extent necessary to permit a Closing to occur by August 12, 2021,
     (vii) the Seller is authorized pursuant to section 365 of the Bankruptcy Code to assume
     and assign the Assigned Contracts and the Assigned Leases, (viii) the Seller is
     authorized and directed to pay all Cure Amounts at Closing; (ix) Seller is authorized and
     directed to execute and deliver the documents set forth in this Agreement, including,
     without limitation, the deliveries set forth in Section 2.02(a) hereof; and (ix) the
     Bankruptcy Court retaining jurisdiction to enforce the Sale Order. The Sale Motion, the
     Sale Order, the Bid Procedures Motion, and the Bid Procedures Order, as well as all
     other documents filed with the Bankruptcy Court related to the Proposed Transaction,
     must be satisfactory to the Buyer in its reasonable discretion. Service of the Sale Notice
     shall be completed in a manner satisfactory to the Buyer in its reasonable discretion.

                             Integral Part of Transaction. Seller acknowledges that the
     Expense Reimbursement, and the other agreements contained in this Article VIII are an
     integral part of the transaction contemplated hereby and that, without these agreements,
     Buyer would not enter into this Agreement. The provisions of this Article VIII shall
     survive the closing or earlier termination of the transactions contemplated hereby.

                                      ARTICLE IX
                                   INDEMNIFICATION

                         Survival. All representations, warranties, covenants, and
     agreements contained herein and all related rights to indemnification shall survive the
     Closing.

                            Indemnification by Seller. Subject to the other terms and
     conditions of this Article , Seller shall indemnify and defend each of Buyer and its
     Affiliates (collectively, the “Buyer Indemnitees”) against, and shall hold each of them
     harmless from and against, any and all losses, damages, liabilities, deficiencies, Actions,
     judgments, interest, awards, penalties, fines, costs, or expenses of whatever kind,
     including reasonable attorneys’ fees (collectively, “Losses”), incurred or sustained by,
     or imposed upon, the Buyer Indemnitees based upon, arising out of, or with respect to:

            (a)      any inaccuracy in or breach of any of the representations or warranties of
    Seller contained in this Agreement, any other Transaction Document, or any schedule,
    certificate, or exhibit related thereto, as of the date such representation or warranty was
    made or as if such representation or warranty was made on and as of the Closing Date
    (except for representations and warranties that expressly relate to a specified date, the
    inaccuracy in or breach of which will be determined with reference to such specified
    date);




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           (b)     any breach or non-fulfillment of any covenant, agreement, or obligation to
    be performed by Seller pursuant to this Agreement, any other Transaction Document, or
    any schedule, certificate, or exhibit related thereto;

           (c)     any Excluded Asset or any Excluded Liability; or

            (d)     any Third Party Claim based upon, resulting from, or arising out of the
    business, operations, properties, assets, or obligations of Seller or any of its Affiliates
    (other than the Purchased Assets or Assumed Liabilities) conducted, existing, or arising
    on or prior to the Closing Date. For purposes of this Agreement, “Third Party Claim”
    means notice of the assertion or commencement of any Action made or brought by any
    Person who is not a party to this Agreement or an Affiliate of a party to this Agreement
    or a Representative of the foregoing.

                            Indemnification by Buyer. Subject to the other terms and
     conditions of this Article , Buyer shall indemnify and defend each of Seller and its
     Affiliates (collectively, the “Seller Indemnitees”) against, and shall hold each of them
     harmless from and against any and all Losses incurred or sustained by, or imposed upon,
     the Seller Indemnitees based upon, arising out of, or with respect to:

            (a)      any inaccuracy in or breach of any of the representations or warranties of
    Buyer contained in this Agreement, any other Transaction Document, or any schedule,
    certificate, or exhibit related thereto, as of the date such representation or warranty was
    made or as if such representation or warranty was made on and as of the Closing Date
    (except for representations and warranties that expressly relate to a specified date, the
    inaccuracy in or breach of which will be determined with reference to such specified
    date);

           (b)    any breach or non-fulfillment of any covenant, agreement, or obligation to
    be performed by Buyer pursuant to this Agreement; or

           (c)     any Assumed Liability.

                             Indemnification Procedures. Whenever any claim shall arise for
     indemnification hereunder, the party entitled to indemnification (the “Indemnified
     Party”) shall promptly provide written notice of such claim to the other party (the
     “Indemnifying Party”). In connection with any claim giving rise to indemnity
     hereunder resulting from or arising out of any Action by a Person who is not a party to
     this Agreement, the Indemnifying Party, at its sole cost and expense and upon written
     notice to the Indemnified Party, may assume the defense of any such Action with
     counsel reasonably satisfactory to the Indemnified Party. The Indemnified Party shall be
     entitled to participate in the defense of any such Action, with its counsel and at its own
     cost and expense. If the Indemnifying Party does not assume the defense of any such
     Action, the Indemnified Party may, but shall not be obligated to, defend against such
     Action in such manner as it may deem appropriate, including settling such Action, after
     giving notice of it to the Indemnifying Party, on such terms as the Indemnified Party
     may deem appropriate and no action taken by the Indemnified Party in accordance with


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     such defense and settlement shall relieve the Indemnifying Party of its indemnification
     obligations herein provided with respect to any damages resulting therefrom. The
     Indemnifying Party shall not settle any Action without the Indemnified Party’s prior
     written consent (which consent shall not be unreasonably withheld or delayed). All of
     the provisions of this Section 9.04 shall be subject to Bankruptcy Court approval if
     applicable; provided, however, that approval of this Agreement by the Bankruptcy Court
     in the Sale Order shall be sufficient approval to satisfy this Section 9.04.

                          Cumulative Remedies. The rights and remedies provided in this
     Article are cumulative and are in addition to and not in substitution for any other rights
     and remedies available at law or in equity or otherwise.

                            ARTICLE X TERMINATION

                          Termination This Agreement may be terminated and the
    transactions contemplated hereby may be abandoned at any time prior to the Closing:

           (a)     By mutual written consent duly authorized by the Seller and the Buyer;

           (b)     By Buyer by notice to Seller if:

                   (i)    any court of competent jurisdiction or other governmental body
           shall have issued an order, decree or ruling, or taken any other action restraining,
           enjoining or otherwise prohibiting the transactions contemplated hereby;

                   (ii)  the Closing has not occurred on or prior to September 7, 2021 (the
           “Outside Closing Date”), for any reason other than the breach of any provision
           of this Agreement by the party terminating this Agreement;

                   (iii) Seller materially breaches any of its representations, warranties or
           covenants set forth in this Agreement and fails to cure such breach within ten (10)
           days after the date of notice of such breach;

                   (iv)   Unless Buyer agrees otherwise in writing, the Bankruptcy Court
           has not entered the Bid Procedures Order as of July 13, 2021 or the Sale Order as
           of August 5, 2021.

                   (v)     any of the conditions set forth in Article VI hereof have not been
           satisfied on or before the Outside Closing Date, or shall have become incapable of
           fulfillment and shall not have been waived by the party entitled to the benefit of
           such condition; or

           (c)     By Seller by notice to Buyer if:

                   (i)    any court of competent jurisdiction or other governmental body
           shall have issued an order, decree or ruling, or taken any other action restraining,
           enjoining or otherwise prohibiting the transactions contemplated hereby, provided
           that this Agreement shall not be terminated pursuant to this paragraph unless


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           Seller has utilized its reasonable best efforts to oppose the issuance of such order,
           decree or ruling or the taking of such action;

                   (ii)    Buyer materially breaches any of its representations, warranties or
           covenants attached hereto that result in Closing failing to occur under this
           Agreement, and Buyer fails to cure such breach within ten (10) days after the date
           of notice of such breach; or

                   (iii) Pursuant to the bid procedures set forth in the Bid Procedures
           Order, a purchaser other than Buyer bids an amount that, with all components
           considered, is determined by Order of the Bankruptcy Court to be higher and
           better than Buyer’s final bid.

           No failure to terminate this Agreement by a party with the right to do so shall be
    deemed a waiver of the right to terminate; provided, however, that a party’s right to
    terminate shall cease if the circumstances giving rise to the right to terminate this
    Agreement is of a nature other than that set forth in clause (b)(iii) or (c)(ii) and the
    circumstances shall cease prior to a party’s notice that it has elected to terminate this
    Agreement.

                             Effect of Termination. In the event of the termination and
    abandonment of this Agreement pursuant to Section 10.01, this Agreement shall
    forthwith become void and be of no effect, without any liability on the part of any party
    or its directors, officers or shareholders except for the terms that expressly survive such
    termination. Nothing in this Section 10.02 shall relieve any party to this Agreement of
    liability for breach of this Agreement.

                        ARTICLE XI DEFAULT; REMEDIES

                            Seller Defaults. If a Seller breaches any of the terms, covenants or
    conditions of this Agreement prior to Closing (and Buyer shall not be in default
    hereunder), after Buyer has given Seller not less than ten (10) days written notice of such
    default and if such default remains uncured after such notice period, or if any
    representation of Seller contained in this Agreement shall be materially false or
    misleading, Buyer may, as Buyer’s sole and exclusive remedy hereunder, by reason of
    Seller’s breach or default, either (i) terminate this Agreement and receive the return of the
    Purchase Price Deposit, which termination and return shall except as otherwise provided
    hereunder, operate to release Seller and Buyer from any and all liability hereunder, or (ii)
    require specific performance of Seller’s obligations under this Agreement.
    Notwithstanding anything to the contrary set forth in this Agreement, if Seller’s breach of
    this Agreement results from Seller’s willful and intentional default under any of the
    terms, covenants, or conditions of this Agreement or if Buyer has a claim by reason of
    any misrepresentation of Seller that is not discovered by or disclosed to Buyer until after
    Closing, Buyer shall be entitled to pursue any and all of such remedies as may be
    available at law or in equity against the Seller.




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                            Buyer Defaults. In the event Closing does not occur by reason of
    a Buyer Default (defined below), then the retention of the Purchase Price Deposit shall be
    Seller’s sole and exclusive remedy under this covenant, subject to the provisions of this
    covenant that expressly survive Closing or a termination of this covenant. In connection
    with the foregoing, the parties recognize that Seller will incur expense in connection with
    the transaction contemplated by this covenant; further, that it is extremely difficult and
    impracticable to ascertain the extent of detriment to Seller caused by a Buyer Default and
    the failure of the consummation of the transaction contemplated by this covenant or the
    amount of compensation Seller should receive as a result of Buyer’s Default. It shall be a
    default by Buyer under this Agreement (a “Buyer’s Default”) if any one or more of the
    following shall occur:

            (a)    Buyer shall fail to pay the Purchase Money Deposit or the amounts to be
    paid at Closing; or

            (b)      Buyer shall have made any misrepresentation or breach of warranty, or
    shall have failed to perform any of its other covenants and agreements contained in this
    Agreement when required to be performed hereunder which misrepresentation, breach or
    failure shall result in Buyer’s inability or unwillingness to complete Closing on the terms
    and conditions set forth herein, and such misrepresentation, breach or failure shall
    continue for ten (10) days after Seller gives Buyer written notice of such
    misrepresentation, breach or failure; it being agreed that if a failure to perform occurs
    within ten (10) days prior to or on the Closing Date, the Closing Date shall be extended
    for no more than ten (10) days from the date of Buyer’s Default as required to allow the
    cure to occur before Closing.

                             Disposition of Purchase Price Deposit. In the event Closing
    occurs, the Deposit, including interest thereon, if any, shall be delivered to Seller and
    applied as a partial payment of the Purchase Price. In the event the transaction does not
    close, the Deposit and any interest thereon shall be delivered to the Buyer unless the
    failure to close arises by reason of Buyer’s default as set forth in Section 11.02, in which
    case the Deposit shall be disposed of as set forth in Section 11.02 hereof. This Section
    11.03 shall survive termination of this Agreement.

                          ARTICLE XII MISCELLANEOUS

                           Reserved.

                            Notices. All notices, claims, demands, and other communications
    hereunder shall be in writing and shall be deemed to have been given: (a) when delivered
    by hand (with written confirmation of receipt); (b) when received by the addressee if sent
    by a nationally recognized overnight courier (receipt requested); (c) on the date sent by
    facsimile or email of a PDF document (with confirmation of transmission) if sent during
    normal business hours of the recipient, and on the next business day if sent after normal
    business hours of the recipient, or (d) on the third day after the date mailed, by certified
    or registered mail, return receipt requested, postage prepaid. Such communications must



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    be sent to the respective parties at the following addresses (or at such other address for a
    party as shall be specified in a notice given in accordance with this Section 12.02):

    If to Seller:              118 N. Main Street
                               Trumbauersville Borough
                               Bucks County, Pennsylvania 18970
                               Email: casey@theoandopp.com
                               Attention: Casey Parzych

    with a copy to:            Flaster/Greenberg P.C.
                               1835 Market Street, Suite 1050
                               Philadelphia , PA 19103
                               Facsimile: (215)-279-9394
                               Email: William.Burnett@flastergreenberg.com
                               Attention: William J. Burnett, Esquire

    If to Buyer:               6501 Red Hook Plaza, Suite 201
                               St. Thomas, VI 00802
                               Email: cdrangula@xo-energy.com
                               Attention: General Counsel

    with a copy to:            Hangley Aronchick Segal Pudlin & Schiller
                               One Logan Square, 27th Floor
                               Philadelphia, PA 19103
                               Facsimile: 215-568-6200
                               Email: dscolnic@hangley.com
                               Attention: David M. Scolnic

                            Interpretation; Headings. This Agreement shall be construed
    without regard to any presumption or rule requiring construction or interpretation against
    the party drafting an instrument or causing any instrument to be drafted. The headings in
    this Agreement are for reference only and shall not affect the interpretation of this
    Agreement.

                            Severability. If any term or provision of this Agreement is invalid,
    illegal, or unenforceable in any jurisdiction, such invalidity, illegality, or unenforceability
    shall not affect any other term or provision of this Agreement.

                           Entire Agreement. This Agreement and the other Transaction
    Documents constitute the sole and entire agreement of the parties to this Agreement with
    respect to the subject matter contained herein and therein, and supersede all prior and
    contemporaneous understandings and agreements, both written and oral, with respect to
    such subject matter. In the event of any inconsistency between the statements in the body
    of this Agreement and those in the other Transaction Documents, the Exhibits, and the
    Disclosure Schedules (other than an exception expressly set forth as such in the
    Disclosure Schedules), the statements in the body of this Agreement will control.



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                            Successors and Assigns. This Agreement shall be binding upon
    and shall inure to the benefit of the parties hereto and their respective successors and
    permitted assigns. Neither party may assign its rights or obligations hereunder without
    the prior written consent of the other party, which consent shall not be unreasonably
    withheld or delayed; provided, however, that Buyer shall have the right to assign this
    Agreement to any person with whom Buyer is affiliated so long as Buyer or such affiliate
    indemnifies Seller for any transfer taxes by reason of such assignment. Any purported
    assignment in violation of this Section 12.06 shall be null and void. No assignment shall
    relieve the assigning party of any of its obligations hereunder.

                            Amendment and Modification; Waiver. This Agreement may
    only be amended, modified, or supplemented by an agreement in writing signed by each
    party hereto. No waiver by any party of any of the provisions hereof shall be effective
    unless explicitly set forth in writing and signed by the party so waiving. No failure to
    exercise, or delay in exercising, any right or remedy arising from this Agreement shall
    operate or be construed as a waiver thereof; nor shall any single or partial exercise of any
    right or remedy hereunder preclude any other or further exercise thereof or the exercise of
    any other right or remedy.

                           Governing Law; Submission to Jurisdiction; Waiver of Jury
    Trial.

            (a)     All matters arising out of or relating to this Agreement shall be governed
    by and construed in accordance with the internal laws of the Commonwealth of
    Pennsylvania without giving effect to any choice or conflict of law provision or rule
    (whether of the Commonwealth of Pennsylvania or any other jurisdiction). Any legal suit,
    action, proceeding, or dispute arising out of or related to this Agreement, the other
    Transaction Documents, or the transactions contemplated hereby or thereby may be
    instituted in the federal courts of the Eastern District of the United States of America or
    the courts of the Commonwealth of Pennsylvania with jurisdiction over Bucks County,
    Pennsylvania, and each party irrevocably submits to the exclusive jurisdiction of such
    courts in any such suit, action, proceeding, or dispute. Notwithstanding anything to the
    contrary contained herein, while the Bankruptcy Case is pending in the U.S. Bankruptcy
    Court for the Eastern District of Pennsylvania, if such court will accept jurisdiction, each
    party irrevocably submits to the exclusive jurisdiction of such court in any such suit,
    action, proceeding, or dispute.

          (b)  EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
    CONTROVERSY WHICH MAY ARISE UNDER THIS AGREEMENT OR THE
    OTHER TRANSACTION DOCUMENTS IS LIKELY TO INVOLVE COMPLICATED
    AND DIFFICULT ISSUES AND, THEREFORE, EACH PARTY IRREVOCABLY
    AND UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT PERMITTED
    BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN
    ANY LEGAL ACTION, PROCEEDING, CAUSE OF ACTION, OR COUNTERCLAIM
    ARISING OUT OF OR RELATING TO THIS AGREEMENT, INCLUDING ANY
    EXHIBITS AND SCHEDULES ATTACHED TO THIS AGREEMENT, THE OTHER
    TRANSACTION DOCUMENTS, OR THE TRANSACTIONS CONTEMPLATED


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    HEREBY OR THEREBY. EACH PARTY CERTIFIES AND ACKNOWLEDGES
    THAT: (I) NO REPRESENTATIVE OF THE OTHER PARTY HAS REPRESENTED,
    EXPRESSLY OR OTHERWISE, THAT THE OTHER PARTY WOULD NOT SEEK
    TO ENFORCE THE FOREGOING WAIVER IN THE EVENT OF A LEGAL ACTION;
    (II) EACH PARTY HAS CONSIDERED THE IMPLICATIONS OF THIS WAIVER;
    (III) EACH PARTY MAKES THIS WAIVER KNOWINGLY AND VOLUNTARILY;
    AND (IV) EACH PARTY HAS BEEN INDUCED TO ENTER INTO THIS
    AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
    CERTIFICATIONS IN THIS SECTION.

                            Counterparts. This Agreement may be executed in counterparts,
    each of which shall be deemed an original, but all of which together shall be deemed to
    be one and the same agreement. A signed copy of this Agreement delivered by facsimile,
    email, or other means of electronic transmission shall be deemed to have the same legal
    effect as delivery of an original signed copy of this Agreement.




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                                         Schedules

    Schedule 1.01 – Assigned Contracts

    Schedule 1.02 of the Disclosure Schedules – Excluded Assets

    Schedule 1.03 of the Disclosure Schedules – Assumed Liabilities

    Schedule 1.06 of the Disclosure Schedules – Allocation Schedule

    Schedule 3.04 of the Disclosure Schedules – Liabilities Not Included in Financial
                                                Statements or Scheduled to Bankruptcy
                                                Petition

    Schedule 3.05 of the Disclosure Schedules – Defaults under Assigned Contracts

    Schedule 3.06 of the Disclosure Schedules – Permitted Exceptions

    Schedule 3.07 of the Disclosure Schedules – Actions/Legal Proceedings/Governmental
    Orders

    Schedule 6.01 – Required Consents
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                                     Schedule 1.01

                                   Assigned Contracts

Contract Type                 Name (and, if available, address) of
                              Contracting Party
I.     Equipment Lease        Agtech VI, LLC
                              6115 Estate Smith Bay
                              East End Plaza, Suite 120
                              St Thomas, VI 00802

II. Xerox and printing        Altek Business Systems, Inc.
    services agreement        300 Emien Way
                              Telford, PA 18969

III. Packaging Agreement      Church Street Beverage LLC

IV. Mitsubishi Forklift       De Lage Landen Financial Services 1111
                              Old Eagle School Road
                              Wayne, PA 19087

V. Equipment Lease            ETOH Worldwide LLC
                              6115 Estate Smith Bay
                              East End Plaza, Suite 120
                              St Thomas, VI 00802

VI. Warehouse Lease           Finland Leasing
    2300 Trumbauersville      2300 Trumbauersville Road
    Rd. Quakertown PA         Quakertown, PA 18951

VII. Referral and packaging   Iron Heart Canning Company, LLC 7130
     agreement                Golden Ring Road
                              Essex, MD 21221

VIII. 2018 Isuzu FTR -        Isuzu Finance of America
    54DK6S162.JSG017 44       2500 Westchester Avenue, Suite 312
    and other equipment       Purchase, NY 10577-2578

IX. Leak detection equipment LACO Technologies, Inc.
    lease                    1418 Bloomingdale Road
                             Queenstown, MD 21658

X. Packaging Agreement        Merican Mule LLC
                              150 The Promenade N
                              Long Beach, CA 90802
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Contract Type                 Name (and, if available, address) of
                              Contracting Party
XI. Warehouse Lease for       Milford Business Centre LP
    2600 Milford Square       2641 Township Line Road
    Pike, Quakertown, PA      Quakertown, PA 18951

    month-to-month

XII. Warehouse Lease - 4224   Plantation Candies, Inc.
     Old Bethlehem Pike,      4224 Old Bethlehem Pike
     Telford, PA              Telford, PA 18969

XIII. Volvo XC90 Cross        Scott Cars, Inc.
    Country                   3333 Lehigh Street
                              Allentown, PA 18103
    21 months

XIV. Packaging Agreement      SmuttyNose Brewing Company




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                           DISCLOSURE SCHEDULES

                      Schedule 1.02 of the Disclosure Schedules

                                  Excluded Assets

                                       None
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                                    Assumed Liabilities



1.      The Assigned Contracts;

2.      The following secured claims:

 Name of Creditor            Type of Debt                      Amount of Claim as of Date
                                                               of Asset Purchase
                                                               Agreement
 Ally                        Equipment Financing secured by    $10,659
                             Purchase Money Security
                             Interest; 2015 Hino 195-
                             JHHRDM2H6FK002044
 Ally                        Equipment Financing Secured by    $25,259
                             Purchase Money Security
                             Interest; 2015 Hino 195-
                             JHHRDM2H7FK002022
 Francis E. Stubbs and       Mortgage Loan                     $307,065
 Maria Del Carmen Nino
 Honda Finance               Equipment Financing Secured by    $14,669
                             Purchase Money Security
                             Interest; 2017 Honda Ridgeline
 Isuzu Finance of America    Equipment Financing Secured by    $43,231
                             Purchase Money Security
                             Interest; 2019 Hino 195 –
                             JHHRDM2H3KK007602
 PACCAR Financial            Equipment Financing Secured by    $25,805
                             Purchase Money Security
                             Interest - 2017 Kenworth 370 –
                             3BKJHM7X6HF581594
 PACCAR Financial            Equipment Financing Secured by    $47,920
                             Purchase Money Security
                             Interest - 2017 Kenworth T370 –
                             2NKHHM7X2JM214870
 Toyota Industries           Equipment Financing Secured by    $18,075
 Commercial Finance          Purchase Money Security
                             Interest 2018 Hino 195 -
                             JHHRDM2H2JK005192
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                      Doc 4-11.03Filed
                                  of the06/21/21
                                         Disclosure Entered
                                                    Schedules, continued
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                             Assumed Liabilities, cont.
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                             ACCOUNTS PAYABLE

AFTEK Inc                                 $          4,140.05
AgTech VI, LLC                            $        106,921.92
American Express                          $        267,002.00
American Supply Company                   $            250.00
BDS Souderton                             $             22.50
Bearing & Drive Solutions                 $             22.50
Bergey's Commercial Tire Centers          $          2,112.45
Berkley Insurance Company                  $        10,991.00
Berlin Packaging                           $        57,580.53
Betsy Moyer Taxes                         $            976.01
Blankrome                                  $        10,080.00
BOUDER Mechanical Services Inc.           $            480.00
D.J. Whelan & Co., Inc                    $          2,032.35
Dave B Plumbing and Heating LLC            $        10,306.96
Devault Refrigeration                     $          1,524.10
Dutch Valley Food Dist                    $          3,294.89
ETOH Worldwide LLC                         $        37,896.00
Express Employment Professionals           $        29,727.00
Foodarom                                   $        26,324.00
Grain Processing Corporation               $        14,345.55
Hoover Materials Handling Group            $        11,596.40
Iron Heart Canning Co., LLC                $        93,925.00
Landis Pallet & Box Co Inc                $          1,425.00
McMaster Carr                             $            205.96
Merican Mule'                              $        76,813.00
Mike Boyer                                $        525,000.00
Morrison                                  $          5,708.50
Nationwide                                $          1,563.00
NIC                                       $          2,226.00
Norris McLaughlin                         $          2,860.08
OK Kosher Certification                   $          9,500.00
Ore Rentals                                $        23,952.75
Ronald Frank                              $          7,245.00
Soiree Partners                           $            306.00
Technical Beverage Services               $          7,918.15
The Cincinnati Insurance Company          $            653.00
Trout Brothers                            $          5,988.00
Utica National Insurance                  $          4,741.00
Vanguard/Ascensus                         $            956.25
Total                                      $     1,368,612.90




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                   Schedule 1.06 of the Disclosure Schedules
                              Allocation Schedule


                            [TO BE ATTACHED}
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                       Schedule 3.04 of the Disclosure Schedules

   Liabilities Not Included in Financial Statements or Scheduled to Bankruptcy Petition


                                          None
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                      Schedule 3.05 of the Disclosure Schedules

                          Defaults under Assigned Contracts

                                  [To Be Attached]
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                            Schedule 3.06 of the Disclosure Schedules

                                        Permitted Exceptions

The following, to the extent still extant and enforceable, it being understood that this schedule is
not intended to revive any interest that has been extinguished:

Real Property:

118 Main Street, Trumbauersville, PA:

       1.        Mortgage and Security Agreement in the original principal amount of $400,000
                 from Mortgagor: Midnight Madness Distilling, LLC, in favor of Mortgagee:
                 Francis E. Stubbs and Maria Del Carmen Nuno, dated 10/12/2016 and Recorded
                 10/18/2016 in Instrument # 2016064731.

       2.        Rights granted to Trumbauersville Real Estate Co., by Right of Way as set forth
                 in Deed Book 361, Page 296.

       3.         Rights granted to Trumbauersville Real Estate Co., by Right of Way as set forth
                 916, Page 89.

       4.        Rights granted to Trumbauersville Fire Co. No. 1 as set forth in Deed Book 671,
                 Page 370.

       5.        Agreement by and between Julius Lehmann and Electro Mechanical Instrument
                 Company, Inc., which includes terms and provisions as set forth in Deed Book
                 2095, Page 920.

       6.        Rights, rights of way and reservations as set forth in Deed Book 1879, Page 233.

       7.        Development Agreement by and between Borough of Trumbauersville and
                 Midnight Madness Distilling, LLC., Finland Leasing and Hendricks Investment
                 Associates which includes terms and conditions as set forth in Instrument No:
                 2018047152.

       8.        All matters disclosed on that Plans of Subdivision as set forth in Plan Book 309,
                 Page 61 and Instrument No: 2018047151.
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                                Schedule 3.06, cont.

                                Permitted Exceptions


Personal Property:

 Name of Creditor           Type of Lien                   Amount of Claim as of Date
                                                           of Asset Purchase
                                                           Agreement
 Ally                       Purchase Money Security        $10,659
                            Interest; 2015 Hino 195-
                            JHHRDM2H6FK002044
 Ally                       Purchase Money Security        $25,259
                            Interest; 2015 Hino 195-
                            JHHRDM2H7FK002022
 Honda Finance              Purchase Money Security        $14,669
                            Interest; 2017 Honda
                            Ridgeline
 Isuzu Finance of America   Purchase Money Security        $43,231
                            Interest; 2019 Hino 195 –
                            JHHRDM2H3KK007602
 PACCAR Financial           Purchase Money Security        $28,805
                            Interest - 2017 Kenworth 370
                            – 3BKJHM7X6HF581594
 PACCAR Financial           Purchase Money Security        $47,920
                            Interest - 2017 Kenworth
                            T370 –
                            2NKHHM7X2JM214870
 Toyota Industries          Purchase Money Security        $18,075
 Commercial Finance         Interest 2018 Hino 195 -
                            JHHRDM2H2JK005192




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                      Schedule 3.07 of the Disclosure Schedules

                    Actions/Legal Proceedings/Governmental Orders

                                       None
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                                 Schedule 6.01

                                Required Consents

                                     None
